Case: 1:18-cv-08514 Document #: 108 Filed: 02/08/21 Page 1 of 1 PageID #:1770

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Mansour Merrikhi Nasrabadi
                                     Plaintiff,
v.                                                     Case No.: 1:18−cv−08514
                                                       Honorable Thomas M. Durkin
Taher Kameli
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 8, 2021:


        MINUTE entry before the Honorable Jeffrey Cummings: Defendant's motion to
compel expert deposition of Angelo A. Paparelli, with reduced or minimal fees [107] is
entered and continued. Plaintiff's response due 03/08/2021. No reply unless ordered by the
Court. The Court will review the parties' submissions and will either issue an order by
mail or, if necessary, set a telephonic motion hearing. Mailed notice (cc, )




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